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                   EXHIBIT 1
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 2 of 23


                                                                      Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            Case No.:
           -against-                        15-cv-07433-RWS

      GHISLAINE MAXWELL,

                   Defendants.

      - - - - - - - - - - - - - - - - - - - - x

                            **CONFIDENTIAL**

                  Videotaped deposition of GHISLAINE
             MAXWELL, taken pursuant to subpoena, was
             held at the law offices of BOIES
             SCHILLER & FLEXNER, 575 Lexington
             Avenue, New York, New York, commencing
             April 22, 2016, 9:04 a.m., on the above
             date, before Leslie Fagin, a Court
             Reporter and Notary Public in the State
             of New York.

                            - - -
                  MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026
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                                                                      Page 9
 1                G Maxwell - Confidential
 2           form and foundation of the question.
 3           Q.     You can answer the question.
 4           A.     First of all, can you please
 5    clarify the question.         I don't understand
 6    what you mean by female, I don't understand
 7    what you mean by recruit.          Please be more
 8    clear and specific about what you are
 9    suggesting.
10           Q.     Are you a female, is that the sex
11    that you are?
12           A.     I am a female.
13           Q.     That's what I'm referring to a
14    female and I'm asking you when you first, the
15    very first time you recruited a female to
16    work for Mr. Epstein?
17           A.     Again, I don't understand what
18    female -- I am a 54 year old women.
19           Q.     I'm not making it age, any age of a
20    female that you recruited to work for Mr.
21    Epstein?
22           A.     Again, I was somebody who hired a
23    number of people to work for Mr. Epstein and
24    hiring is one of my functions.
25           Q.     And when is the first time you
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 4 of 23


                                                                      Page 10
 1                G Maxwell - Confidential
 2    hired someone to work for Mr. Epstein, a
 3    female?
 4           A.     As best as I can recollect, a woman
 5    the age probably of about 40 or 50 was in
 6    sometime in 1992.
 7           Q.     How long did you work for Mr.
 8    Epstein?
 9           A.     I started working for him at some
10    point in 1992 and the nature of my work
11    relationship with him changed over time so
12    from around 2002, 2003, the work lessened
13    considerably.
14           Q.     When did you --
15                  MR. PAGLIUCA:     Can I interject for
16           a moment.     If we are talking about
17           background --
18                  MS. McCAWLEY:     I'm in the middle of
19           a question.     Let me finish it and then
20           can you interject.
21           Q.     When you say 2002 to 2003 that the
22    work lessened, when did you complete working
23    for Mr. Epstein; when was the last time you
24    were employed by him, the last date?
25           A.     I believe I still was doing --
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 5 of 23


                                                                      Page 11
 1                G Maxwell - Confidential
 2    helping him in a very nominal way, maybe an
 3    hour or two a year at sometime 2008 and 2009.
 4                  MR. PAGLIUCA:     So if you are going
 5           to be talking about general background,
 6           I don't need to designate that as
 7           confidential.      So if you want to have
 8           them come back in, that's fine.
 9                  I assumed by your first question
10           you were going into more sensitive
11           areas.    I will leave it up to you, but
12           if this is general background it will
13           not be designated as confidential.
14                  MS. McCAWLEY:      I appreciate that.
15           I will jump back into my other
16           questions.
17                  MR. PAGLIUCA:     So we will keep it
18           as confidential.
19           Q.     When you were first employed by him
20    in 1992, what were you hired to do?
21           A.     First, I was consulting and what I
22    did was I helped with decorating houses and
23    in hiring staff to help run those houses.
24           Q.     Did your duties change over the
25    course of 1992 to 2009?
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 6 of 23


                                                                      Page 12
 1                G Maxwell - Confidential
 2                  MR. PAGLIUCA:     Object to the form
 3           and foundation.
 4           A.     My job entailed running the homes
 5    that he had but much more importantly, most
 6    of the houses had construction and so whilst
 7    in 1992 there was no construction project,
 8    there was construction projects that began
 9    after that time and I was in charge not only
10    of hiring architects, I was also in charge of
11    all the filings or overseeing that, like a
12    general contractor would.
13                  I also helped with hiring the
14    architects, hiring the builders, reviewing
15    the contracts for the builders, coordinating
16    the building projects, coordinating how the
17    projects would layout, the timing of the
18    projects and all the various materials that
19    they would require to run a very substantial
20    building project.       That's the nature of the
21    job I was dealing with.
22           Q.     How old was the youngest female you
23    ever hired to work for Jeffrey?
24                  MR. PAGLIUCA:     Object to the form
25           and foundation.
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 7 of 23


                                                                      Page 84
 1                G Maxwell - Confidential
 2    30 girls --
 3            A.    I did not count the number of girls
 4    and I did read the police report.            I can only
 5    testify to what I read.
 6            Q.    So you are aware that the police
 7    report contains reports from 30 underage
 8    girls?
 9            A.    I can't testify to what the girls
10    said.    I can only testify to the fact that I
11    read a police report that stated that.
12           Q.     Were you working for Jeffrey -- you
13    said you worked for him off an on until 2009,
14    is that correct?
15           A.     I helped out from time to time.
16           Q.     So you were working with him during
17    the time period when these underage girls
18    were visiting Jeffrey's home?
19                  MR. PAGLIUCA:     Objection to the
20           form and foundation.
21           A.     I was not -- what year, I need
22    years.
23           Q.     How about let's say 2005?
24           A.     I'm not sure I was at the house at
25    all in 2005, maybe one day, maybe.
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 8 of 23


                                                                      Page 89
 1                G Maxwell - Confidential
 2           knowledge there are 30 people --
 3                  MS. McCAWLEY:     Just like can you if
 4           you read through -- I will not argue
 5           with you counsel.. she can answer yes or
 6           no.
 7           Q.     Are you aware there were over 30
 8    individuals who were minors who gave reports
 9    to police just like the one we just read that
10    they were sexually assaulted by Jeffrey
11    Epstein in the Palm Beach home during the
12    years that you were working with him?
13                  MR. PAGLIUCA:     Objection to the
14           form and foundation.        You can answer if
15           you have knowledge.
16           A.     I already testified I was limited
17    in the house, a couple of days, there is no
18    way I knew.      I have read these reports.         I
19    cannot testify to 30.         Given the experience
20    I've had with Virginia's lies, it's very hard
21    for me to testify about what I see.            I can
22    tell from you my personal knowledge I did not
23    know what you are referring to.
24           Q.     You did not know there were
25    underage girls in the home that were being
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 9 of 23


                                                                      Page 90
 1                G Maxwell - Confidential
 2    assaulted by Jeffrey Epstein during the time
 3    you were working there?
 4            A.    Based on the lies that I have
 5    already been told, I cannot comment on any --
 6            Q.    Are you saying these 30 girls are
 7    lying when they gave these reports to police
 8    officers?
 9            A.    I'm not testifying to their lies.
10    I'm testifying to Virginia's lies.
11           Q.     I am not asking about Virginia's
12    lies.
13           A.     I can only testify to Virginia's
14    lies.    I can testify to having read these
15    reports.      I cannot testify to anything else
16    about them.
17           Q.     So your testimony is that during
18    the time you were working there, you did not
19    know that these minor children were being
20    abused in the home while you were there?
21           A.     What I have already told you and I
22    will repeat, I was in the house very limited
23    times, very few times.         I do not know what
24    you are referring to.         I've read these
25    reports but based on the lies that Virginia
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 10 of 23


                                                                   Page 91
  1               G Maxwell - Confidential
  2    has perpetrated, cannot tell you what is true
  3    or factual or not.
  4          Q.     You said you were in the home a
  5    very limited time, so average in the year for
  6    example, 2004, how many times would you have
  7    been in his Palm Beach home?
  8          A.     Very hard for me to state but very
  9    little.
 10          Q.     How about his New York home?
 11          A.     Same.
 12          Q.     Were you his girlfriend in that
 13    year, in 2004?
 14          A.     Define what you mean by girlfriend.
 15          Q.     Were you in a relationship with him
 16    where you would consider yourself his
 17    girlfriend?
 18          A.     No.
 19          Q.     Did you ever consider yourself his
 20    girlfriend?
 21          A.     That's a tricky question.         There
 22    were times when I would have liked to think
 23    of myself as his girlfriend.
 24          Q.     When would that have been?
 25          A.     Probably in the early '90s.
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 11 of 23


                                                                   Page 94
  1               G Maxwell - Confidential
  2            Q.   I'm asking the questions.         I know
  3    what this case is about.         I'm trying to -- I
  4    will ask you questions if you don't
  5    understand the question I can break it down
  6    for you.     I'm happy to do that.
  7            A.   Break it down a lot please.
  8            Q.   I will do that.
  9                 The question is, have you ever said
 10    to anybody that you recruit other girls --
 11          A.     Why don't you stop there.
 12          Q.     Let me finish my question.
 13                 Have you ever said to anybody that
 14    you recruit girls to take the pressure off
 15    you, so you won't have to have sex with
 16    Jeffrey, have you said that?
 17                 That's the question?
 18          A.     You don't ask me questions like
 19    that.    First of all, you are trying to trap
 20    me, I will not be trapped.         You are asking me
 21    if I recruit, I told you no.          Girls meaning
 22    underage, I already said I don't do that with
 23    underage people and as to ask me about a
 24    specific conversation I had with language, we
 25    talking about almost 17 years ago when this
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 12 of 23


                                                                   Page 95
  1               G Maxwell - Confidential
  2    took place.     I cannot testify to an actual
  3    conversation or language that I used with
  4    anybody at any time.
  5          Q.     Have you ever said to anybody that
  6    you recruit other females over the age of 18
  7    to take the pressure off you to having to
  8    have sex with Jeffrey?
  9          A.     I totally resent and find it
 10    disgusting that you use the word recruit.             I
 11    already told you I don't know what you are
 12    saying about that and your implication is
 13    repulsive.
 14          Q.     Answer my question.
 15          A.     I just did.
 16          Q.     Have you ever said to anybody that
 17    you recruit females --
 18          A.     I don't recruit anybody.
 19          Q.     That's an answer.       So you never
 20    said that?
 21          A.     I'm testifying that I cannot
 22    testify to an actual language --
 23          Q.     It's a yes or no.
 24          A.     I will not testify to an actual
 25    statement made 17 years ago, so I cannot
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 13 of 23


                                                                  Page 108
  1               G Maxwell - Confidential
  2    that he may have met socially through me.
  3          Q.     Did you ever introduce
                  to Virginia in London?
  5          A.     I understand her story about London
  6    but again, her tissue of lies is extremely
  7    hard to pick apart what is true and what
  8    isn't.     Actually I wouldn't recollect her at
  9    all but for her tissue stories about this
 10    situation.
 11          Q.     So did you ever introduce
                to Virginia in London?
 13          A.     I have no recollection.
 14          Q.     Did Virginia ever stay at your home
 15    in London, your town home?
 16          A.     I know she claims she did but if
 17    you are asking me here today to remember
 18    specifically, I cannot.
 19          Q.     Do you remember taking a trip with
 20    Virginia to travel over to Europe, including
 21    London?
 22          A.     So I have seen her reports and I
 23    have seen the plane reports.          I see she says
 24    she was on that but again, I really have no
 25    recollection of her.
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 14 of 23


                                                                  Page 109
  1               G Maxwell - Confidential
  2            Q.   Did you know that she was 17 at the
  3    time of that trip?
  4                 MR. PAGLIUCA:      Objection to the
  5            form and foundation.
  6            A.   I have --
  7            Q.   Did you know she was 17 at the time
  8    of that trip?
  9                 MR. PAGLIUCA:      Objection to the
 10          form and foundation.
 11          A.     I didn't even know she was on the
 12    trip.
 13          Q.     Did you hold her passport for her
 14    when she was traveling?
 15                 MR. PAGLIUCA:      Objection to the
 16          form and foundation.
 17          A.     I have no recollection whatsoever
 18    of her even being on the trip nor holding her
 19    passport.
 20                 (Maxwell Exhibit 4, picture, marked
 21          for identification.)
 22          Q.     I'm showing you what we marked as
 23    Maxwell Exhibit 4.
 24                 Can you take a look at that picture
 25    for me?
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 15 of 23


                                                                  Page 110
  1             G Maxwell - Confidential
  2          A.     I've looked at it.
  3          Q.     Are you in that picture?
  4          A.     I am.
  5          Q.


  7          A.     It is.
  8                 MR. PAGLIUCA:      I don't believe this
  9          has been produced to us in discovery by
 10          you.
 11                 MS. McCAWLEY:      The picture?
 12                 MR. PAGLIUCA:      Yes.
 13                 MS. McCAWLEY:      It has.
 14                 MS. MENNINGER:      Is it the same
 15          exact photograph.
 16                 MS. McCAWLEY:      I believe so.      We
 17          will find one.       The picture has been
 18          produced a number of times.
 19                 MR. PAGLIUCA:      I've seen different
 20          iterations of this, I don't believe I
 21          have ever seen this.
 22                 MS. McCAWLEY:      We had them blow it
 23          up on a page so she could see it.            We
 24          could use an article.
 25                 While you are looking for that, I
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 16 of 23


                                                                  Page 111
  1               G Maxwell - Confidential
  2          will skip ahead.       Hold that until we can
  3          find one that has the Bates range on it.
  4          Q.     Do you recall Virginia being at
  5    your London town home?
  6          A.     I do not.
  7          Q.     Do you recall going to dinner with
  8                       Jeffrey Epstein and Virginia
  9    Roberts in London, at any time?
 10          A.     I do not.
 11          Q.     Do you recall going to a place
 12    called                                        , Jeffrey
 13    Epstein and yourself and Virginia Roberts?
 14          A.     I would just like to state for the
 15    record




                   I do not have any recollection of it
 21    and I doubt it actually happened.
 22          Q.      You don't recall that.
 23                  Do you recall taking Virginia
 24    shopping when you were in London to buy an
 25    outfit to meet
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 17 of 23


                                                                  Page 120
  1               G Maxwell - Confidential
  2          Q.     So I'm directing your attention to
  3    the bottom, two lines up from the bottom,
  4    there is a flight --
  5                 MR. PAGLIUCA:      Are you on
  6                 MS. McCAWLEY:
  7          Q.     So this flight is from, the one I'm
  8    looking at, I think it's highlighted on your
  9    copy.      On the far corner on the date, it says
 10          at the top and this would be the
 11    and then the           are the two I'm going to
 12    direct your attention to.
 13          Q.     On that first one on the              you
 14    will see the column reading PBI in the from
 15    column to TEB in the to column and you will
 16    see some initials, you will see JE for
 17    Jeffrey Epstein, GM for Ghislaine Maxwell,
 18    for                 and then Virginia?
 19          A.     I have to object.
 20                 MR. PAGLIUCA:      You don't get to
 21          object.
 22          Q.     She is turning into a lawyer
 23    already?
 24          A.     I would like to.
 25          Q.     Let me ask the question and if you
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 18 of 23


                                                                  Page 121
  1               G Maxwell - Confidential
  2    have an issue -- so with respect to this
  3    flight, do you recall being on a flight in
  4    the --                     going from Palm Beach to
  5    Teterboro?
  6            A.   No, I don't recall any specific
  7    flight.
  8            Q.   Do you recall flying with Virginia
  9    on a flight with                     and Jeffrey
 10    Epstein at any time?
 11          A.     I don't.
 12          Q.     How often did you fly on a plane
 13    with a 17 year old?
 14                 MR. PAGLIUCA:      Objection to form
 15          and foundation.
 16          A.     I have no idea what you are talking
 17    about, other than friends of mine that had
 18    kids.
 19          Q.     Did you regularly fly on Jeffrey's
 20    plane with individuals who were under the age
 21    of 18?
 22                 MR. PAGLIUCA:      Objection to the
 23          form and foundation.
 24          A.     Can you repeat the question?
 25          Q.     Did you regularly fly on Jeffrey
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 19 of 23


                                                                  Page 122
  1               G Maxwell - Confidential
  2    Epstein's planes with individuals who were
  3    under the age of 18?
  4          A.      I regularly flew on Jeffrey
  5    Epstein's airplane but I cannot testify as to
  6    flying with people under the age.           I don't
  7    believe that I did.
  8          Q.      Why wouldn't you remember flying
  9    with a 17 year old?
 10                 MR. PAGLIUCA:      Objection to the
 11          form and foundation.
 12          A.     How would I know, one, that she is
 13    17, how would you know that, how do you know
 14    I'm on the plane.
 15          Q.     Are you saying you are not on this
 16    flight, so this is a Palm Beach to Teterboro.
 17    This says the JE, GM          and Virginia.      The GM
 18    you are saying is not you?
 19                 MR. PAGLIUCA:      I object to the
 20          form.    You can answer the question if
 21          you know.
 22          A.     How do you know the GM is me.
 23          Q.     Is it your testimony that on the
 24    flight logs when it represents GM that it is
 25    not you flying on the plane?
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 20 of 23


                                                                  Page 207
  1               G Maxwell - Confidential
  2    obvious lie that you approached Virginia
  3    while she was under age at Mar-a-Lago?
  4                 MR. PAGLIUCA:      Objection to the
  5          form and foundation.
  6          A.     First of all, we can all agree
  7    here, all of you sitting here that the lies
  8    that you perpetrated in the press that she
  9    was 15 and we should all agree now that that
 10    is fake, a lie that was perpetrated between
 11    all of you to make the story more exciting,
 12    can we agree on that?
 13          Q.     That is not my question.
 14          A.     Can we agree she was not the age
 15    she said and you put that in the press, that
 16    is obviously, manifestly, absolutely, totally
 17    a lie.
 18                 MS. McCAWLEY:      I am going to put on
 19          the record, Ms. Maxwell very
 20          inappropriately and very harshly pounded
 21          our law firm table in an inappropriate
 22          manner.     I ask she take a deep breath,
 23          and calm down.       I know this is a
 24          difficult position but physical assault
 25          or threats is not appropriate, so no
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                                                                  Page 208
  1                G Maxwell - Confidential
  2           pounding, no stomping, no, that's not
  3           appropriate,.
  4           A.     Can we be clear, I didn't threaten
  5    anybody.
  6                  MR. PAGLIUCA:     Stop, you made your
  7           record, there is no dent in the table.
  8           I don't see any chips.        Can we take a
  9           break now.
 10                  MS. McCAWLEY:     I think it's
 11           appropriate to take a break.
 12                  THE VIDEOGRAPHER:      It's 1:56 and we
 13           are off the record.
 14                  (Recess.)
 15                  THE VIDEOGRAPHER:      It's now 2:13,
 16           we're starting disk No. 5 and we are
 17           back on the record.
 18           Q.     Ms. Maxwell, how old was Virginia
 19    Roberts when you met her in Mar-a-Lago?
 20                  MR. PAGLIUCA:     Objection to the
 21           form and foundation.
 22           A.     I know today that she was 17 years
 23    old.
 24           Q.     Are you saying that it's an obvious
 25    lie that Virginia traveled on Jeffrey
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                                                                  Page 410
  1               G Maxwell - Confidential
  2          Q.     Were there other flights that you
  3    recall flying on with Jeffrey Epstein that
  4    were on flights that -- where                        was
  5    not the pilot?
  6          A.                    was not always the
  7    pilot.
  8          Q.     How many planes did Jeffrey Epstein
  9    have during the time you were with him?
 10                 MR. PAGLIUCA:      Objection to the
 11          form and foundation.
 12          A.     So you need to give me a date
 13    range.
 14          Q.     During the time period of 1992
 15    through when you left your employment which I
 16    think you said was in 2009?
 17          A.     So in the '90s he had one plane and
 18    at some point in the 2000s he had two planes
 19    but I can't testify to anything past 2002,
 20    2003, what happened to his planes after that.
 21          Q.     Do you know what travel agency, if
 22    any, Jeffrey would use when he would send
 23    someone, for example, you or one of his other
 24    employees on a flight somewhere?           Did he use
 25    a particular travel agency to make those
Case 1:15-cv-07433-LAP Document 1137-11 Filed 10/22/20 Page 23 of 23


                                                                  Page 417
  1
  2                 ACKNOWLEDGMENT OF DEPONENT
  3
                    I,                            , do hereby
  4    certify that I have read the foregoing pages,
       and that the same is a correct transcription
  5    of the answers given by me to the questions
       therein propounded, except for the
  6    corrections or changes in form or substance,
       if any, noted in the attached Errata Sheet.
  7
  8
  9    GHISLAINE MAXWELL                         DATE
 10
 11    Subscribed and sworn
       to before me this
 12             day of                           , 2016.
 13    My commission expires:
 14
       Notary Public
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
